                                 UNITED STATES BANKRUPTCY COURT
                                  EASTERN DISTRICT OF MICHIGAN

IN RE: Kevin C. Albers
                                                                       CHAPTER 13
                                                                       CASE NO. 21-31058
                      Debtor.                                          JUDGE Joel D. Applebaum
_________________________________/

                                 ORDER APPROVING FEE APPLICATION

         This matter having come before the Court upon the application of Sweeney Law Offices, PLLC all
interested parties having been served with notice of the application and the provisions of E.D. Mich. LBR 2016-1
having been met, no objections to the application having been received and a certification of no response having
been filed, and the Court being otherwise fully advised in the premises;

        IT IS HEREBY ORDERED:

        1.       The Court previously approved Applicant’s fees and expenses in the amount of: $0.00

                 The Court grants Applicant’s current fee application as follows:

                 THIS AWARD FOR FEES:                $9,456.00
                 THIS AWARD FOR COSTS:               $363.91

                 TOTAL THIS AWARD:                                                             $9,819.91

                 AMOUNT OF THIS AWARD PAID DIRECTLY BY DEBTOR:                                 $0.00

                 AMOUNT OF THIS AWARD TO BE PAID BY TRUSTEE:                                   $9,819.91


        2.      This award covers services rendered and expenses incurred during the time period of
        4/20/2021 to 11/17/2021.
Signed on December 29, 2021




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